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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                     IN THE UN1TED ST ATES DISTRICT COURT                              December 02, 2021
                         SOUTHERN DISTRICT OF TEXAS                                     Nathan Ochsner, Clerk

                              HOUSTON DIVISION

ELOISE LA VERNE HAYS,                               §
           Plaintiff,                               §
                                                    §
V.                                                  §            CIVIL ACTION No. 4: 17-cv-0603
                                                    §
FREEDOM FINANCIAL, LLC, ET AL.,                     §
         Defendants.                                §

                       ORDER ADOPTING MAGISTRATE JUDGE'S
                       MEMORANDUM AND RECOMMENDATION


       Having reviewed the Magistrate Judge's Memorandum and Recommendation dated
November 10, 2021 and no objections having been filed thereto, the Court is of the opinion that said
Memorandum and Recommendation should be adopted by this Court.
       It is, therefore, ORDERED that the Magistrate Judge's Memorandum and Recommendation
(ECF 51) is hereby ADOPTED by this Court and the Intervenor's Motion for Summary Judgment
(ECF 49) is GRANTED.
       Accordingly, it is ORDERED that Intervenor Bank of New York Melon Trust Company,
N.S., as Trustee for Mortgage Assets Manageme~t Series Trust (BONYM) is authorized to foreclose
its lien on the property located at 3130 Dacca Drive, Houston, Texas in conjunction with all other
regularly scheduled non-judicial foreclosure sales on the first Tuesday of the month, in accordance
with the provisions of Texas Prope1iy Code§ 51.002(a). It is further ORDERED that BONYM
shall file an application for an award of attorneys' fees and a proposed Final Judgment within 14
days of completion of the foreclosure sale.


       SIGNED at Houston, Texas this      ::2...(       day of December, 2021.




                                                                   SIM LAKE
                                               SENIOR UNITED STA TES DISTRICT JUDGE
